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                           IN THE UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                  JACKSONVILLE DIVISION 2011 JUL 25 PH 3: OS

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THE CITY OF JACKSONVILLE,                                  CASE NO. G\(:';O'!\'ILL·:. fLOR\\.;.l,
a political subdivision of the State of Florida,

                         Plaintiff,
vs.

JACKSONVILLE HOSPITALITY HOLDINGS
L.P., a foreign limited partnership; SHOPPES OF
LAKESIDE, INC., a Florida corporation;
CONFEDERATE PARKS, LLC, a Florida joint
venture; WARREN PARTNERSHIP, a Florida
general partnership a/k/a WARREN and WARREN
Partnership; ELLIS R. WARREN, NEDRA WARREN,
HAROLD WARREN, and VITA WARREN,

                         Defendants.
--------------------------------,/
                                             COMPLAINT

        Plaintiff, the City of Jacksonville ("the City"), sues Jacksonville Hospitality Holdings

L.P. ("JHH"); Shoppes of Lakeside, Inc. ("Shoppes"); Confederate Parks, LLC ("Confederate

Parks"); Warren Partnership, and Ellis R. Warren, Nedra Warren, Harold Warren and Vita

Warren (collectively, the "Warren Family"), and alleges the following:

                                STATEMENT OF JURISDICTION

           1.     The City is a municipal corporation and political subdivision of the State of

Florida.

        2.        Defendant JHH, is a Delaware limited partnership, which has an ownership

interest in real property at issue in this litigation.

        3.        Defendant Shoppes of Lakeside, Inc. ("Shoppes"), is a Florida corporation
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which has an ownership interest in real property at issue in this litigation. I

          4.      Confederate Parks is a Florida joint venture of JHH and Shoppes which has an

ownership interest in real property at issue in this litigation.

          5.      Defendant Warren Partnership is a Florida general partnership which has an

ownership interest in real property at issue in this litigation.

          6.      Defendants, the Warrens, are the partners of Warren Partnership, each of whom

resides in Jacksonville, Florida and has an ownership interest in real property at issue in this

litigation.

          7.     The amount in controversy exceeds $75,000.00, exclusive of interest and costs.

          8.     The Court has jurisdiction over the subject matter and parties in this case,

pursuant to 28 U.S.c. §§, 1331,1334 and 1367.

          9.     This venue is proper pursuant to 28 U.S.C. § 1391 because the events giving

rise to this suit transpired in and the properties at issue are located in Duval County, Florida. 2

                                  BACKGROUND AND FACTS

          10.    The Florida Department of Environmental Protection ("DEP") has identified 24

locations in Florida where manufactured gas plants ("MGPs") formerly operated. The Main

Street MGP was located on the corner of State and Main Streets in downtown Jacksonville ("the

Site").



I Shoppes is the debtor in bankruptcy proceedings before the Middle District of Florida, Case No
3:10-bk-5199-PMG. However, by Order entered on May 29,2012, the Bankruptcy Court granted
the City leave to file suit against Shoppes. See Exhibit A, Bankruptcy Order Confirming
Reorganization Plan.

2 Pursuant to 42 U.S.c. § 9613(1) a copy of this complaint has been provided to the Attorney

General of the United States and to the Administrator of the United State Environmental
Protection Agency ("EPA").
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        11.       The Site, specifically located at 901 North Main Street, Jacksonville, Florida

32202, is currently owned by JHH.

        12.       MGPs used coal or coke, steam, and a gasification agent to produce a

combustible gas for such things as street lights, home lighting and stoves. Waste products from

MGPs included coal tar, cyanide, heavy metals and other deleterious materials.

        13.       Coal tar, for instance, contains a number of volatile substances, such as benzene

and certain hydrocarbons.

        14.        These and other waste products were often discharged in (and contaminated)

the soils and waters located in and around MGP sites.

        15.       In September, 2001, the City became aware of contamination issues at

Confederate Park, part of which is in and part of which is near to the Site. Contamination testing

revealed conditions typical of abandoned MGP sites.

        16.       In March 2002, the City entered into a Consent Order with the DEP whereby it

agreed to assess and prepare a feasibility study for the remediation of Confederate Park.

Numerous tests and studies were conducted for several years thereafter.

        17.       In the fall of 2009, the DEP sent a letter to the U.S. Environmental Protection

Agency ("EPA") requesting designation of the Site as a "Superfund Site" and listing it on the

"National Priorities list."

        18.       Since it became aware of the problem, the City has collaborated with the DEP

and EPA to resolve it.

        19.       The City has also attempted to engage Defendants and other potentially

responsible parties ("PRPs") to join in the cleanup effort, as their properties were determined to

be a potential source of contaminations at the park.

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       20.         For instance, in the summer and fall of 2011, the City held meetings,

conferences, and had other interactions with the Defendants/PRPs to discuss contributions

toward the resolution of the contamination issues. However, the meetings and negotiations were

unsuccessful.

       21.         Environmental reports show that coal tar contamination located on the Shoppes

and JHH Parcels (937 Main Street, 901 N. Main Street), and the Warrens/Warren Partnership

Parcel (925 North Ocean Street) continues to contaminate Confederate Park and rights-of-way

owned by the City.

       22.         All conditions precedent to filing this suit have been satisfied or waived.

                                COUNT 1- CERCLA VIOLATIONS

       23.         The City realleges and incorporates herein by reference the allegations stated in

paragraphs 1 through 22 above.

       24.         The conditions and events described above render Defendants liable to the City

under Section 107(a)(l) of the Comprehensive Environmental Response, Compensation, and

Liability Act ("CERCLA"), 42 U.S.c. § 9607(a)(1).

       25.         The City has suffered damages due to Defendants' contamination of its property

and will continue to suffer additional contamination emanating from Defendants' property. Such

damages include, without limitation, response and cleanup costs as defined by CERCLA and the

Consent Order.

       26.         The City'S response and cleanup programs comply with the National

Contingency Plan, as described in Section 105 of CERCLA, 42 u.S.C. § 9605. See also 40

C.F.R. Part 300.

       27.         The City IS entitled to recover associated costs and expenses from each

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Defendant.

       28.       The City is also entitled to a declaration and judgment that each Defendant is

jointly and severally liable for the City's damages, costs, expenses and other losses.

       WHEREFORE, the City demands judgment in its favor, and against the Defendants as

follows:

                 a. Adjudging, decreeing and declaring that Defendants are jointly and

                     severally liable to the City pursuant to Section 107(a) of CERCLA, 42

                     U.S.C. § 9607(a), for past and future response costs incurred in connection

                     with remediation of the Site, and City property in and around it, together

                     with interest thereon;

                 b. Ordering Defendants to pay the City for past and future response costs

                     related to remediation of the Site, and City property in and around it,

                     together with interest thereon, and calculated in accordance with Section

                     107(a), 42 U.S.C.§ 9607(a);

                 c. Awarding the City attorney's fees, costs, and expenses incurred as a result

                     of this litigation; and

                 d. Granting such other relief as the Court deems just and appropriate.

                          COUNT 11- CERCLA CONTRIBUTION CLAIM

       29.       The City realleges and incorporates herein by reference the allegations stated in

paragraphs 1 through 22 above.

       30.       Pursuant to Section 113(f)(3)(B) of CERCLA, 42 U.S.C. § 9613(f)(3)(B), each

Defendant is liable to the Chy for contribution to cover its damages, costs, expenses, and

attorneys' fees associated with this litigation and the response and remediation activities

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described above.

        31.        The same statutory provision also entitles the City to a judicial allocation of

costs and expenses for which each party is responsible.

        WHEREFORE, the City demands judgment in its favor and against the Defendants as

follows:

                   a. Adjudging, decreeing and declaring that Defendants are jointly and

                      severally liable, pursuant to Section 113(f)(3)(B) of CERCLA, 42 U.S.C. §

                      9613(F)(3)(B), for contribution to the City for its past and future response

                      costs, together with interest thereon;

                   b. Allocating responsibility for such costs among the City and Defendants

                      pursuant to Section 113(f)(3)(B) ofCERCLA, 42 U.S.C. § 9613(F)(3)(B);

                   c. Ordering Defendants to provide contribution to the City for its past and

                      future response costs, together with interest thereon, calculated in

                      accordance with Section 107(a), 42 U.S.C.§ 9607(a);

                   d. Ordering Defendants to pay the City its costs, expenses, and attorney's fees

                      incurred as a result of this action; and

                   e. Granting the City such further relief as the Court deems just and appropriate.

              COUNT III - VIOLATION OF SECTION 376.313, FLORIDA STATUTES

        32.        The City realleges and incorporates herein by reference the allegations stated in

paragraphs 1 through 22 above.

        33.        Environmental assessments conducted by the City and others prove that there

has been a "discharge or other condition of pollution" covered by Sections 376.30-376.317, Fla.

Stat.

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          34.     Section 376.313, Fla. Stat., prohibits such discharge or other condition of

pollution.

          35.     Defendants have violated Section 376.313(3), Fla. Stat., and continue to do so,

causing the City to suffer damages.

          36.     Section 376.313, Fla. Stat., authorizes the recovery of such damages for the

above described pollution, as well as attorney's fees, costs and expenses associated with this

action.

          WHEREFORE, the City demands judgment in its favor and against the Defendants for:

                  a. Compensatory damages together with interest thereon;

                  b. An injunction compelling the Defendants to clean up and eliminate the

                      pollution and contamination described above;

                  c. A Declaration that Defendants are liable for all costs associated with the

                      remediation of the Site and the City's property in and around it, including

                      interest and attorney's fees; and

                  d. Granting ~uch other relief as the Court deems just and appropriate.

                          COUNT IV - TRESPASS TO CITY'S PROPERTY

          37.     The City realleges and incorporates herein by reference the allegations stated in

paragraphs 1 through 22 above.

          38.     The hazardous waste, contamination, and pollutants discussed above entered

upon the City's property from Defendants' properties.

          39.     Based upon the foregoing, each Defendant committed a trespass upon the City's

property.

          40.     The City never consented to the conduct of the Defendants which resulted in the

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trespass upon its property.

        41.      As a result of the past and continuing trespass, the City has suffered and

continues to suffer damages.

        WHEREFORE, the City demands judgment in its favor and against the Defendants for:

                 a. All damages caused by Defendants' past and continuing trespass upon the

                     City's property;

                 b. Prejudgment and post-judgment interest on all amounts so awarded; and

                 c. Such other relief as the Court deems just and appropriate.

                                         COUNT V - NUISANCE

        42.      The City realleges and incorporates herein by reference the allegations stated in

paragraphs 1 through 22 above.

        43.      Defendants permitted or maintained a condition on their property which caused

and continues to cause a substantial and unreasonable interference with the City's use and

enjoyment of its property, thereby creating a nuisance.

        44.      As a result of such conduct, Defendants have caused injury and damages to the

City.

        WHEREFORE, the City demands judgment in its favor and against the Defendants for:

                 a. All damages caused by Defendants' conduct;

                 b. Prejudgment and post-judgment interest on all amounts so awarded; and

                 c. Such other and further relief as the Court deems just and appropriate.

                                        COUNT VI - NEGLIGENCE

        45.      The City realleges and incorporates herein by reference the allegations stated

herein in paragraphs 1 through 22 above.

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       46.      Defendants had a duty to investigate, protect against, and prevent the

contamination of the City's property.

       47.      Defendants breached their duty by failing to investigate and protect against the

contamination and allowing pollutants and deleterious substances to enter the soils and

groundwater near to and on the City's property.

       48.      As a result of the negligence of Defendants, the City has suffered and continues

to suffer damages.

       WHEREFORE, the City demands judgment in its favor and against Defendants for:

                a. All damages caused by Defendants' negligence;

                b. Prejudgment and post-judgment interest on all amounts so awarded; and

                c. Such other relief as the Court deems just and appropriate.

                                DEMAND FOR JURY TRIAL

       The City demands a trial by jury on all issues so triable.

       Respectfully submitted this 26th day of July, 2012.

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                                         Jacksonville




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               EXHIBIT A
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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DMSION

 InRe:                                                  Case No.: 3:10-bk-5199-PMG

 SHOPPES OF LAKESIDE, INC.          r                   Chapter 11

         Debtor.
 __________~------------~I
       ORDER CONFIRMING DEBTOR'S AMENDED PLAN OF REORGANIZATION
                          DATED APRIL 20, 2011

         This case was before the Court on May 2, 2012 for the Confirmation Hearing on the

 Debtor's Chapter 11 Plan. The Amended Plan under Chapter 11 of the Bankruptcy Code dated

 April 20, 2011 (Docket #328), having been transmitted to creditors and equity security holders;

 and

         It having been determined after hearing on notice that the requirements for Confirmation

 set forth in 11 U.S.C. § 1129(a) and (b) have been satisfied; it is

         ORDERED:

 1.      The Debtor's Amended Plan of Reorganization dated April 20, 2011, as modified, is

 confirmed. A copy of the Confirmed Plan is attached as Exhibit 1.

 2.      The Plan is hereby amended as follows:

         a. Class 3 second mortgage of Bisbee-Baldwin Corporation on 300 W. Adams St.,

            Jacksonville FL to be paid its claim of $409,200 in full according to the following

            terms: (i) Monthly payments for a period of sixty (60) months according to a twenty-

            year amortization schedule with an initial interest rate of 4.75%, interest adjustable

            bi-atUlually (January lSI and July 1st) at the Wall Street Journal prime rate plus 1.5%,

            with a floor of 4.75%. Based upon this treatment, the Debtor shall make an initial

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           payment of $2,644.35 on February 1,2012. (ii) A balloon payment for the remaining

           balance shall be due on February 1, 2017. The remaining agreed Plan provisions as

           outlined in the Stipulation Regarding Amendment to Amended Plan of

           Reorganization Dated April 20, 2011 (Class 3 Claim of Bisbee-Baldwin) (Doc. No.

           453) are incorporated by reference as though fully set forth herein.

        b. Class 6 secured claim of HANCOCK BANK. on 42 East Coast Drive, Atlantic Beach,

           FL 32233 paid in full from non-estate funds.

        c. Class 7 secured claim of HERITAGE BANK on 100 E. Adams aIkIa 123 N. Ocean

           St., Jacksonville FL to be paid as follows: (i) Payment of $19,044.53 to cure arrears

           for the two loans; (ii) Monthly payments beginning October 15,2011 of principal and

           interest based upon a twenty-five (25) year amortization with interest of prime plus

           two percent (2%) adjusted annually, and a balloon payment for the remaining balance

           due five (5) years from the date of the first payment; (iii) Monthly payments shall be

           made as stated in paragraph (ii) above for fifty-nine (59) months based upon the

           treatment in paragraph (ii) above; The iiritial monthly payment is $2,100.45 based

           upon a twenty-five (25) year amortization of $347,889.94 with 5.25% interest. The

           remaining agreed Plan provisions as outlined in the Stipulation Regarding

           Amendment to Amended Plan of Reorganization Dated April 20, 2011 (Class 7

            Claim ofHeritage Bank) (Doc. No. 388) are incorporated by reference as though fully

            set forth herein.

        d. Class 9 secured claim of Iberiabank on 1341 Pearl st. aIkIa 205 W. Third St.,

            Jacksonville FL to be paid secured claim of $960,071.00 in full according to the

            Settlement Agreement dated October 31, 2011 (the "Settlement Agreement"), which

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          include, but are not limited to the following terms: (i) Monthly interest payments

          beginning October 15,2011 in the amount ofWSJ prime rate plus one percent. Such

          payments shall be made on the 15th day of each successive month until July 31, 2014,

          at which time all remaining sums of principal and interest due and owing shall be

          paid in full. (ii) Monthly principal payments in the amount of $5,305.50 beginning on

          October 15~ 2011 and subsequent monthly principal payments in the same amount

          shall be made on the 15th day of each successive month until July 15, 2014. (iii)

          Assign to Iberiabank all right, title and interest to any and all insurance proceeds

          related to the fire at the Property on or about April 25, 2011. Any insurance fimds

          paid to Shoppes andlor Chris Hionides with regard to the Property shall be paid to

          lberiabank: within twenty four (24) hours of receipt of same. The remaining agreed

          Plan provisions as outlined in the Stipulation Regarding Amendment to Amended

          Plan of Reorganization Dated April 20, 2011 (Class 9 Claim of lbenaBank) (Doc.

          No. 456) are incorporated by reference as though fully set forth herein.

       e. Class 10 secured claim of Iberiabank on 233 W. Duval St., Jacksonville, FL (the

          "Property") to be paid secured claim of $3,877,210.88 in full according to the

          Settlement Agreement dated October 31, 2011 (the "Settlement Agreement"), which

          includes, but is not limited to, the following terms: (i) Monthly interest payments

          beginning October 15,2011 in the amount ofWSJ prime rate plus one percent. Such

          payments shall be made on the 15th day of each successive month until July 31, 2014,

           at which time all remaining sums of prirlcipal and interest due and owing shall be

           paid in full. (ii) Monthly principal payme~ts in the amount of $21,694.50 beginning

           on October 15, 2011 and subsequent monthly principal payments in the same amount

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            shall be made on the 15th day of each successive month until July 31, 2014. The

            remaining agreed Plan provisions as outlined in the Stipulation Regarding

            Amendment to Amended Plan of Reorganization Dated April 20, 2011 (Class 10
                                                         ,
            Claim ofIberiaBank) (Doc. No. 457) are incorporated by reference as though fully set
                                                         ,

            forth herein.

       f.   Class 11 secured claim of ARS INVESTORS I LP-2011-1 JAX, successor in interest

            to Jacksonville Bank, on 937 Main St, Jacksonville FL to be paid secured claim of

            $727,978.04 in full according to the following terms: (i) Monthly payments for a

            period of sixty (60) months according to a twenty-year amortization schedule with an

            initial interest rate of 5.25%, interest adjustable bi-annually at the Wall Street Journal

            prime rate plus 2.0%, with a floor of 5.25%. Based upon this treatment, the Debtor

            shall make an initial payment of $4,935.14 on December 1, 2011. (ii) A balloon

            payment for the remaining balance shall be due sixty (60) months from the date of the

            first payment. The remaining agreed Plan provisions as outlined in the Stipulation

            Regarding Amendment to Amended Plan of Reorganization Dated April 20, 2011

            (Class 11 Claim of ARS Investors) (Doc. No. 431) are incorporated by reference as

            though fully set forth herein.

       g. Class 12 secured claim of ARS INVESTORS I LP-2011-1 JAX, successor in interest

            to Jacksonville Bank, on 300 W. Adams St., Jacksonville FL to be paid secured claim

            of $3,502,221.57 in full according to the following terms: (i) Monthly payments for a

            period of sixty (60) months according to fi twenty-year amortization schedule with an

            initial interest rate of 4.75 %, interest adjustable bi-annually at the Wall Street Journal

            prime rate plus 1.5%, with a floor of 4.75%. Based upon this treatment, the Debtor

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            shall make an initial payment of $22,758.56 on December 1, 2011. (ii) A balloon

            payment for the remaining balance shall be due sixty (60) months from the date of the

            first payment. The remaining agreed Plan provisions as outlined in the Stipulation

            Regarding Amendment to Amended Plan of Reorganization Dated April 20, 2011

            (Class 12 Claim oj ARS Investors) (Doc. No. 432) are incorporated by reference as

            though fully set forth herein.

       h. Class 13 secured claim of ARS INVESTORS I LP-20I1-1 JAX, successor in interest

            to Jacksonville Bank, successor in interest to Oceanside Bank, on 520 N. Hogan St.,

            Jacksonville FL to be paid secured claim of $368,671.27 in full according to the

            following terms: (i) Monthly payments for a period of sixty (60) months according to

            a twenty-year amortization schedule with I an initial interest rate of 5.25 %, interest

            adjustable bi-annually at the Wall Street Journal prime rate plus 2.0%, with a floor of

            5.25%. Based upon this treatment, the Debtor shall make an initial payment of

            $2,499.31 on December 1, 2011. (ii) A balloon payment for the remaining balance

            shall be due sixty (60) months from the date of the first payment. The remaining

            agreed Plan provisions as outlined in the Stipulation Regarding Amendment to

            Amended Plan of Reorganization Dated April 20, 2011 (Class 13 Claim oj ARS

            Investors) (Doc. No. 433) are incorporated by reference as though fully set forth

            herein.

       i.   Class 14 secured claim of Putnam State Bank on 2440-2444 Mayport Rd., Atlantic

            Beach FL to be paid secured claim of $1,513,717.60 in full, plus attorney fees,

             according to the following tenns: (i) Monthly payments of approximately $10,025.12

             beginning April 15, 2012 and continuing for a period of sixty (60) months according

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          to a twenty-year amortization schedule with interest of 5.0%. (The amount of attorney

          fees needs to be finalized but have been estimated for purposes of calculating the

          estimated monthly payment); (ii) A balloon payment for the remaining balance shall

          be due sixty (60) months from the date of the first payment. The remaining agreed

          Plan provisions as outlined in the Stipulation Regarding Amendment to Chapter 11

          Plan Between Debtor-in-Possession and Putnam State Bank (Doc. No. 460) are

          incorporated by reference as though fully set forth herein.

       j. Class 15 secured claim of SRB Servicing, LLC on 119 E. Forsyth St., Jacksonville FL

          to be paid secured claim of $502,212.45 in full according to the following terms: (i)

          Monthly payments for a period of eighty-four (S4) months according to a twenty-five

          (2S) year amortization schedule with 5.25% interest, and a balloon payment for the

          remaining balance due eighty-four (84) months from the effective date of the Plan or

          the date of the first payment, whichever is earlier. Payments of $3,009.50 to

           commence December 15, 2011 with a balloon payment due on December 15, 20IS.

           (ii) Creditor paid property taxes in the amount of $39,162.84 for tax years 2007 &

           2008. Debtor will re-imburse creditor by repaying these advances over 60 months

           with 5.25% interest, in equal monthly installments. Monthly payments of $743.55 to

           commence December 15, 2011. The remaining agreed Plan provisions as outlined in

           the Stipulation Regarding Amendment to Amended Plan of Reorganization Dated

           April 20, 2011 (Class 15 Claim of SRB Servicing. LLC) (Doc. No. 412) are

           incorporated by reference as though fully set forth herein.

       k. Class 16 secured claim of SRB Servicing, LLC on 231 E. Adams and 0 E. Adams,

           St., Jacksonville FL to be paid secured claim of $460,108.46 in full according to the

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          following tenns: (i) Monthly payments for a period of eighty-four (84) months

          according to a twenty-five (25) year amortization schedule with 5.25% interest, and a

          balloon payment for the remaining balance due eighty-four (84) months from the

          effective date of the Plan or the date of the first payment, whichever is earlier.

          Payments of$2,757.19 to commence December 15,2011 with a balloon payment due

          on December 15, 2018. (ii) Creditor paid property taxes in the amount of $37,354.73

          for tax years 2007 & 2008. Debtor will re-imburse creditor by repaying these

          advances over 60 months with 5.25% interest, in equal monthly installments. Monthly

          payments of $709.22 to commence December 15, 2011. The remaining agreed Plan

          provisions as outlined in the Stipulation Regarding Amendment to Amended Plan of

          Reorganization Dated April 20, 2011 (Class 16 Claim of SRB Servicing, LLC) (Doc.

          No. 413) are incOIporated by reference as though fully set forth herein.

       1. Class 17 secured claim of SRB Servicing, LLC on 211 E. Bay St., Jacksonville FL to

          be paid secured claim of $258,092.29 in full according to the following tenns: (i)

          Monthly payments for a period of eighty-four (84) months according to a twenty-five

          (25) year amortization schedule with 5.25% interest, and a balloon payment for the

          remaining balance due eighty-four (84) months from the effective date of the Plan or

          the date of the first payment, whichevJr is earlier. Payments of $1,546.61 to

          commence December 15, 2011 with a balloon payment due on December 15,2018.

          (ii) Creditor paid property taxes in the amount of $11,595.77 for tax years 2007 &

           2008. Debtor will re-imburse creditor by repaying these advances over 60 months

           with 5.25% interest, in equal monthly installments. Monthly payments of $220.16 to

           commence December 15, 2011. The remaining agreed Plan provisions as outlined in

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          the Stipulation Regarding Amendment to Amended Plan of Reorganization Dated

          April 20, 2011 (Class 17 Claim of 8RB Servicing, LLC) (Doc. No. 414) are

          incorporated by reference as though fully set forth herein.

       m. Class 18 secured claim of SRB Servicing, LLC on 1452 N. Main St. a/kIa 1440 N.

          Main St., Jacksonville FL to be paid secured claim of$168,237.69 in full according to

          the following terms: (i) Paid in full in Class 19. (ii) Creditor paid property taxes in the
                                                       I



          amount of $13,650.80 for tax years 2007 & 2008. Debtor will re-imburse creditor by

          repaying these advances over 60 months with 5.25% interest, in equal monthly

          installments. Monthly payments of $259.17 to commence December 15, 2011. The

          remaining agreed Plan provisions as outlined in the Stipulation Regarding

          Amendment to Amended Plan of Reorganization Dated April 20, 2011 (Class 18

          Claim of8RB Servicing, LLC) (Doc. No. 415) are incorporated by reference as though

          fully set forth herein.

       n. Class 19 secured claim of SRB Servicing, LLC on 30 W. 5th st. and 33 W. 4th St.,

          Jacksonville FL to be paid secured claim of $168,237.69 in full according to the

          following tenns: (i) Monthly payments for a period of eighty-four (84) months

          according to a twenty-five (25) year amortization schedule with 5.25% interest, and a

          balloon payment for the remaining balan'ce due eighty-four (84) months from the

          effective date of the Plan or the date of the first payment, whichever is earlier.

          Payments of$1,008.16 to commence December 15,2011 with a balloon payment due

          on December 15, 2018. Creditor paid property taxes in the amount of $27,794.36 for

          tax years 2007 & 2008. Debtor will re-imburse creditor by repaying these advances

           over 60 months with 5.25% interest, in equal monthly installments. Monthly

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          payments of $527.70 to commence December 15, 2011. The remaining agreed Plan

          provisions as outlined in the Stipulation Regarding Amendment to Amended Plan of

          Reorganization Dated April 20, 2011 (Class 19 Claim of SRB Servicing, LLC) (Doc.

          No. 416) are incorporated by reference as though fully set forth herein.

       o. Class 20 secured claim ofVystar Credit Union on 1351 Silver Street, Jacksonville FL

          32206 to be paid secured claim of $354.349.29 in full according to the follOwing

          tenns: (i) Monthly payments for a period of eighty-four (84) months according to a

          twenty (20) year amortization schedule with 5.5% interest. Monthly payments of

          principal and interest shall be $2,437.52 beginning March 1. 2012. (ii) A balloon

          payment for the remaining balance shall be due eighty-four (84) months from the date

          of the first payment. (iii) The tenns of the underlying loan documents (as described

          more particularly in, and attached to, Proof of Claim 26 filed by Vystar dated October

          18, 2010) not modified herein shall remain in full force and effect. The remaining

          agreed Plan provisions as outlined in the Stipulation Regarding Amendment to

          Amended Plan of Reorganization Dated April 20, 2011 (Class 20 Claim of Vystar

          Credit Union) (Doc. No. 441) are incorporated by reference as though fully set forth

          herein.

       p. Class 21 secured claim of J PROPERTIES N, LLC, successor-in-interest to Vystar

          Credit Union, on 1310 N. Laura St., Jack~onville FL is treated as follows: (i) The

          Debtor consents to the entry of an order, substantially in the fonn attached as Exhibit

          A, granting the Motion for Relief from S.tay and authorizing J Properties to file a

           foreclosure action as to the Property (the "Foreclosure Action"). which Order shall

          provide that it is not stayed pursuant to Rule 4001(a)(3), Federal Rules of Bankruptcy

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          Procedure; (ii) The Debtor will assert no defenses to the Foreclosure Action and

          consents to the immediate entry of a foreclosure judgment in the Foreclosure Action;

          (iii) The disposition of the Property through a foreclosure sale pursuant to the

          Foreclosure Action will satisfy the Judgment and Claim No. 27 and upon such

          disposition, J Properties will provide the Guarantors with a satisfaction of the

          Judgment; and (iv) Upon the disposition of the Property through a foreclosure sale, J

          Properties will withdraw its Motion to Dismiss.

       q. Class 23 secured claim of Z-S GENERAL PARTNERSHIP on 233 W. Duval Street,

          Jacksonville FL paid in full from non-estate funds.

       r. Class 25 secured claim of Heartwood 88, LLC on 1351 Silver St., 231 E. Adams, &

          320 E. Adams St., Jacksonville FL to be paid secured claim of $25,631.56 in full

          together with interest at a rate of 6% in equal monthly installments over a period of

          60 months to Heartwood. Payments to Heartwood shall be principal and interest of

          $495.54 per month. Heartwood 88 LLC shall retain its liens on the above referenced

          real property and its right for tax deed sale relief in the event the Debtor fails to pay

          Heartwood in accordance with the terms of this Plan. Pursuant to the terms of a

          settlement agreement with the terms of this Plan. Pursuant to the terms of a settlement

          agreement between the Debtor and J Properties IV, LLC, the Debtor is consenting

          immediate foreclosure of the property located at 1310 N. Laura St. Any disposition of

           the property located at 1310 N. Laura St. will be subject to the tax certificate lien

           rights of Heartwood 88, LLC, and Heartwood 88, LLC shall retain its lien rights in

           the property, along with any and all rights and remedies on account of such lien

           rights, notwithstanding the Debtor's agreement with J Properties IV, LLC. Heartwood

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          shall make semi-annual reports to the Duval County Tax Collector regarding the

          amount of principal and interest that has been paid to Heartwood over the previous

          six month period. Heartwood agrees that its rights under the tax certificates are

          defined by this Plan and applicable Florida law. Upon payment in full from Debtor in

          accordance with the terms of this Plan, Heartwood shall notify the Tax Collector
                                                     1
          immediately, and the tax certificates and all rights thereunder shall become null and

          void and said tax certificates shall be considered full satisfied. The remaining agreed

          Plan provisions as outlined in the Stipulation Regarding Amendment to Amended

          Plan of Reorganization Dated April 20, 2011 (Class 25 Claim ofHeartwood 88, LLC)

          (Doc. No. 354) are incorporated by reference as though fully set forth herein.

       s. 2.26 Class 26 - Secured Claim of Duval County Tax Collector on Debtor's Real

          Property.

          This class consists of the Secured Claim of the Duval County Tax Collector held by

          virtue of statutory liens on certain parcels of Debtor's real property located in Duval

          County, FL, and shall be subject to the following terms:

                    A. Properties Covered. The clfiim, and payment thereon, is limited to the

                        "Subject" properties identified, and whose taxes are estimated, in the

                        attached "Exhibit 2". All "other" properties that have been claimed upon

                        or identified in this bankruptcy estate are either (1) being surrendered or

                        (2) not in fact owned by the Debtor or a part of the bankruptcy estate.

                        The Tax Collector is authorized to collect the taxes on any such "other"

                        properties outside the Amended Plan of Reorganization by the Tax

                        Collector, in accordance with state law

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                 B. Taxes, Interest and Fees Due. The Debtor shall pay as to each

                    "Subject" property, all taxes and fees due, and interest at either 18% or

                    as provided for by law for tax. certificates or tax deed applications.

                 C. Date of Interest Accrual. Interest shall accrue, and, shall be paid, from

                    date of delinquency of each tax bill.

                 D. Amortization over Seven (7) Years. Taxes and fees shall be totaled on

                    each "Subject" property individually, and shall be amortized and paid

                    with the appropriate interest, monthly over a seven year period.

                 E. Default and Collection. Upon the default or failure of the Debtor to

                    timely pay any given "Subject" property's taxes, fees and interest, as set

                     forth herein, the Debtor shall be deemed to be in default as to that

                     property, and the Tax Collector may proceed to collect the whole of said

                     sums due on that individual "Subject" property, outside the Amended

                     Plan of Reorganization, in accordance with state law.

                  F. Default Limited to Individual Property. The Debtor's default or

                     failure to timely pay anyone "Subject" property's taxes, fees and

                     interest, as set forth herein, shall not be deemed to be a default as to any

                     other property.

                  G. Prepayment. The Debtor may prepay all or any portion of the taxes and

                     fees as to any property at any time.

                  H. Limitation on Tax Deed Sale. So long as any given "Subject" property

                     is not in default, as described above, said property shall not be sold at a

                     tax deed sale.

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         t. Class 28.5 - This is a "Contingent" Class consisting of the City of Jacksonville

             ("City"), which has filed a Proof of Claim relating to environmental damages for

             which the City alleges the Debtor and others may be liable. Class 28.5 is impaired by

             the Plan and therefore may vote on Plan approval. Class 28.S is a "Contingent" class

             as the claim/liability must be established outside of the bankruptcy proceedings in a

             judicial forum of competent jurisdiction. Such claim shall be filed in a court of

             competent jurisdiction within 60 days of approval of the Plan. Notwithstanding any

             other provision of the Plan, no release approved in the Plan shall serve as a release of

             any obligation or liability owed to the city by any person or entity, as to the

             environmental claims of the City. Funds determined to be owed to Class 28.S, by way

             of judgment or settlement, shall be paid in the same manner as Class 28, except that

             the amount and duration of payments due the City shall be separately determined by

             the Court upon motion and hearing. Jurisdiction in the Bankruptcy Court is reserved

             for these pmposes.

  3.     The payments to each creditor are set forth on the payment schedule, pages 17-22 below.

  4.     The Debtor shall continue to pay quarterly U.S. Trustee fees until such time as the case is

  converted, dismissed, discharged or a final decree is entered.

  5.     After confirmation, pursuant to 11 U.S.C. § 1106(a)(7) and Bankruptcy Rule 2015(a)(5),

  the Debtor shall with the Bankruptcy Court and shall serve on the United States Trustee a

  fmancial or statement of disbursements for each quarter (or portion thereof) that this Chapter 11

  case remains open, in a format prescribed by the United States Trustee. These reports shall

  include any disbursements made from the sale of any real property. Debtor shall also attach any

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 closing statements to the quarterly report.

 6.      Within ten (l0) days from the date of the entry of this Order, the Debtor-In-Possession

 shall transmit a copy of this Order and a copy of the Plan of Reorganization to all creditors and

 parties in interest.

 7.      In accordance with § 1141 (b) of the Bankruptcy Code and the Plan as modified, title to

 the Debtor's assets, shall vest in the Post-Confinnation Debtor on the Effective Date. Until the

 Effective Date, the Debtor shall continue to perform its duties under the Code. Except as

 otherwise expressly provided in the Plan and in this Confirmation Order, all assets and property

 of the Debtor shall be vested in the Post-Confinnation Debtor, free and clear of all Liens, free

 and clear of all liens, claims, and interests of creditors.

 8.      The Debtor is hereby authorized and directed to execute any necessary documents to

 meet the statutory requirements if any, for filing necessary papers with the State of Florida or

 any other jurisdiction to effectuate the tenns of the Plan.

 9.      Payment of all Allowed Claims of Professionals for fees andlor expenses, as provided

 herein, shall be paid on the date on which any Order authorizing the payment of such fees andlor

 expenses to such professional becomes a Final Order, unless other provisions have been made

 between the Professional and the Post-Confirmation Debtor.

 10.     Upon the Effective Date, all executory contracts and unexpired leases of the Debtor not

 previously assumed or rejected by Order of this Court or subject to a pending motion to assume

 or reject shall be deemed assumed. Parties to such rejected leases and contracts are required to

 submit their claims for rejection damages, if any, pursuant to the provisions of 11 U.S.C. §

 502(g), within thirty (30) days from entry of this Confinnation Order or such specific Order

 rejecting their lease or contract. All of the Debtor's right, title and interest in any contracts,

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 leases or agreements entered into by the Debtor after the Petition Date, and/or not subject to

 assumption or rejection under § 365 of the Banlauptcy Code, shall vest in the Post-Confirmation

 Debtor without fmther action on the Effective Date.

 11.    The Post-Confirmation Debtor is hereby vested with the rights and powers granted to the

 Debtor pursuant to § 1107(a) of the Bankruptcy Code with respect to the allowance, treatment, or

 avoidance of Liens or Claims which remain unresolved as of the Effective Date.

 12.    The DebtorlPost-Confirmation Debtor shall have ninety days (90) days from the

 Confinnation Date to commence any claims objections or commence any adversary proceeding

 ("Objection!Adversary Deadline''). The Debtor, upon motion and a hearing, may extend the

 Objection!Adversary Deadline.

 13.    In accordance with §§ 524 and 105(a) of the Bankruptcy Code, and except as otherwise

 provided in the Plan and this Confirmation Order, on and after the Effective Date, all Persons are

 pennanently enjoined and restrained from, commencing or continuing in any court any suit,

 action, or other proceeding, or otherwise asserting any Claim or Interest, seeking to hold liable

 the Post-Confinnation Debtor or the property of Post-Confinnation Debtor, for any claim,

 obligation, right, interests, debt or liability that has been treated pursuant to the Plan and for any

 and all claims arising under bankruptcy or non-bankruptcy law relating in any way to the Debtor,

 the Post-Confinnation Debtor or their business, except for any claims or actions related to gross

 negligence or willful misconduct.

  14.    Pursuant to § 1146(a) of the Bankruptcy Code and the Plan, the issuance, transfer, or

 exchange of notes or securities under the Plan; the creation of any mortgage, deed of trust, or

  other security interest; the making or assignment of any lease or sublease; or the making or

  delivery of any deed or other instrument of transfer under, in furtherance of, or in connection

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 with the Plan shall not be subject to any stamp, real estate transfer, or similar tax. All :filing and

 recording officers are hereby directed to accept for filing or recording all instruments of transfer

 to be filed and/or recorded, without the payment of any such taxes.

 15.     All entities holding Claims against or Interests in the Debtor that are treated under the

 Plan are hereby directed to execute, deliver, file, or record any docmnent, and to take any action

 necessary to implement, consummate, and otherwise effect the Plan in accordance with their

 respective tenns, and all such entities shall be bound by the tenns and provisions of all

 documents executed and delivered by them in connection with the Plan.

 16.     In accordance with § 1142 of the Bankruptcy Code, the Debtor, the Post-Confirmation

 Debtor and any other entity designated pursuant to the Plan are hereby authorized, empowered,

 and directed to issue, execute, deliver, file, and record any document, and to take any action

 necessary or appropriate to implement, consummate, and otherwise effectuate the Plan in

  accordance with its tenns, and all such entities shall be bound by the tenns and provisions of all

  documents issued, executed, and delivered by them as necessary or appropriate to implement or

  effectuate the transactions contemplated by the Plan.

  17.    The Court shall retain jurisdiction for the sole purpose of detennining the amount and

  duration of repayment of the contingent claim of the City of Jacksonville, if and when Debtor is

  found liable on account of such contingent claim, as outlined in the Class 28.5 Stipulation.


         ORDERED this ~ Gf day of May, 2012 at Jacksonville, Florida.




                                                          PAUL M. GLENN
                                                          United States Bankruptcy Judge


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